                                                                    Case 1:15-cv-00560-JTC Document 1 Filed 06/24/15 Page 1 of 6




                                                       BARSHAY SANDERS, PLLC
                                                       100 Garden City Plaza, Suite 500
                                                       Garden City, New York 11530
                                                       Tel: (516) 203-7600
                                                       Fax: (516) 706-5055
                                                       Email: ConsumerRights@BarshaySanders.com
                                                       Attorneys for Plaintiff
                                                       Our File No.: 109283

                                                                                  UNITED STATES DISTRICT COURT
                                                                                  WESTERN DISTRICT OF NEW YORK



                                                       ASCENSION HIDALGO,                                            Docket No:

                                                                              Plaintiff,                             COMPLAINT

                                                                                   vs.
                                                                                                                     JURY TRIAL DEMANDED
                    100 GARDEN CITY PLAZA, SUITE 500
     PLLC


                     GARDEN CITY, NEW YORK 11530




                                                       AMERICAN CORADIUS INTERNATIONAL,
BARSHAY | SANDERS




                                                       LLC,

                                                                             Defendant.


                                                               ASCENSION HIDALGO (hereinafter referred to as “Plaintiff”), by and through the
                                                       undersigned counsel, complains, states and alleges against AMERICAN CORADIUS
                                                       INTERNATIONAL, LLC (hereinafter referred to as “Defendant”), as follows:
                                                                                               INTRODUCTION
                                                               1.      This action seeks to recover for violations of the Fair Debt Collection Practices
                                                       Act, 15 U.S.C. § 1692, et seq., (“FDCPA”) and New York General Business Law (“NYGBL”) §
                                                       349.
                                                                                           JURISDICTION AND VENUE
                                                               2.      This Court has federal subject matter jurisdiction pursuant to 28 U.S.C. § 1331
                                                       and 15 U.S.C. § 1692k(d), and jurisdiction over the state law claims pursuant to 28 U.S.C. §
                                                       1367.
                                                               3.      Venue is proper under 28 U.S.C. §1391(b) because a substantial part of the events
                                                       or omissions giving rise to the claim occurred in this Judicial District.



                                                                                                         1
                                                                    Case 1:15-cv-00560-JTC Document 1 Filed 06/24/15 Page 2 of 6




                                                               4.       At all relevant times, Defendant conducted business within the State of New
                                                       York.
                                                                                                     PARTIES

                                                               5.       Plaintiff is an individual who is a citizen of the State of New York.
                                                               6.       Plaintiff, a “consumer” as defined by 15 U.S.C. § 1692a(3), is allegedly obligated
                                                       to pay a debt.
                                                               7.       On information and belief, Defendant's principal place of business is located in
                                                       AMHERST, NEW YORK.
                                                               8.       Defendant is regularly engaged, for profit, in the collection of debts allegedly
                                                       owed by consumers.
                                                               9.       Defendant is a person who uses an instrumentality of interstate commerce or the
                                                       mails in a business the principal purpose of which is the collection of debts, or who regularly
                                                       collects or attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or
                    100 GARDEN CITY PLAZA, SUITE 500
     PLLC




                                                       due another, and is therefore a “debt collector” as defined by 15 U.S.C. § 1692a(6).
                     GARDEN CITY, NEW YORK 11530
BARSHAY | SANDERS




                                                                                                 ALLEGATIONS

                                                               10.      Plaintiff's alleged debt was primarily for personal, family or household purposes
                                                       and is therefore a “debt” as defined by 15 U.S.C. § 1692a(5).
                                                               11.      Sometime after the incurrence of the debt, but before the initiation of this action,
                                                       Plaintiff is alleged to have fallen behind on payments allegedly owed on the alleged debt.
                                                               12.      At a time known only to Defendant, Plaintiff's alleged debt was assigned or
                                                       otherwise transferred to Defendant for collection.
                                                               13.      In its efforts to collect the alleged debt, Defendant contacted Plaintiff by written
                                                       correspondence. (“Exhibit 1.”)
                                                               14.      Defendant's written correspondence to Plaintiff is a “communication” as defined
                                                       by 15 U.S.C. § 1692a(2).
                                                               15.      As set forth in the following Counts, Defendant's communication violated the
                                                       FDCPA and NYGBL.




                                                                                                          2
                                                                 Case 1:15-cv-00560-JTC Document 1 Filed 06/24/15 Page 3 of 6




                                                                                               FIRST COUNT
                                                                                        Violation of 15 U.S.C. § 1692g
                                                                                             Validation of Debts

                                                               16.    Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                               17.    15 U.S.C. § 1692g provides that within five days after the initial communication
                                                       with a consumer in connection with the collection of any debt, a debt collector shall, unless the
                                                       information is contained in the initial communication or the consumer has paid the debt, send the
                                                       consumer a written notice containing certain enumerated information.
                                                               18.    One such requirement is that the debt collector provide “the name of the creditor
                                                       to whom the debt is owed.” 15 U.S.C. § 1692g(a)(2).
                                                               19.    A debt collector has the obligation not just to convey the name of the creditor to
                                                       whom the debt is owed, but also to convey such clearly.
                                                               20.    A debt collector has the obligation not just to convey the name of the creditor to
                                                       whom the debt is owed, but also to state such explicitly.
                    100 GARDEN CITY PLAZA, SUITE 500
     PLLC


                     GARDEN CITY, NEW YORK 11530




                                                               21.    Merely naming the creditor without specifically identifying the entity as the
BARSHAY | SANDERS




                                                       current creditor to whom the debt is owed is not sufficient to comply with 15 U.S.C. §
                                                       1692g(a)(2).
                                                               22.    Even if a debt collector conveys the required information, the debt collector
                                                       nonetheless violates the FDCPA if it conveys that information in a confusing or contradictory
                                                       fashion so as to cloud the required message with uncertainty.
                                                               23.    When determining whether the name of the creditor to whom the debt is owed has
                                                       been conveyed clearly, an objective standard, measured by how the “least sophisticated
                                                       consumer” would interpret the notice, is applied.
                                                               24.    Defendant's letter lists a “Creditor” of “COMENITY CAPITAL BANK.”
                                                               25.    Defendant’s letter lists an “Original Creditor of “WEBBANK.”
                                                               26.    The first line of Defendant’s letter reads, “We are writing to you regarding your
                                                       PayPal Credit account.”
                                                               27.    Defendant’s letter fails to explain the legal relationship, if any, between
                                                       “COMENITY CAPITAL BANK” and “WEBBANK.”
                                                               28.    Defendant’s letter fails to explain the legal relationship, if any, between
                                                       “COMENITY CAPITAL BANK” and “PayPal Credit.”



                                                                                                        3
                                                                 Case 1:15-cv-00560-JTC Document 1 Filed 06/24/15 Page 4 of 6




                                                               29.    Defendant’s letter fails to explain the legal relationship, if any, between “
                                                       “WEBBANK” and “PayPal Credit.”
                                                               30.    The least sophisticated consumer would likely be confused as to whether the
                                                       creditor to whom the debt is owed is COMENITY CAPITAL BANK,” or “WEBBANK,” or
                                                       “PayPal Credit.”
                                                               31.    The least sophisticated consumer would likely be uncertain as to whether the
                                                       creditor to whom the debt is owed is COMENITY CAPITAL BANK,” or “WEBBANK,” or
                                                       “PayPal Credit.”
                                                               32.    Defendant failed to explicitly state the name of the creditor to whom the debt is
                                                       owed.
                                                               33.    Defendant failed to clearly state the name of the creditor to whom the debt is
                                                       owed.
                                                               34.    The least sophisticated consumer would likely be confused as to the name of the
                    100 GARDEN CITY PLAZA, SUITE 500
     PLLC




                                                       creditor to whom the debt is owed.
                     GARDEN CITY, NEW YORK 11530
BARSHAY | SANDERS




                                                               35.    The least sophisticated consumer would likely be uncertain as to the name of the
                                                       creditor to whom the debt is owed.
                                                               36.    Defendant has violated § 1692g as it failed to clearly and explicitly convey the
                                                       name of the creditor to whom the debt is owed.

                                                                                             SECOND COUNT
                                                                                        Violation of 15 U.S.C. § 1692e
                                                                          False or Misleading Representations as to the Name of the
                                                                                    Creditor to Whom the Debt is Owed

                                                               37.    Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                               38.    15 U.S.C. § 1692e prohibits a debt collector from using any false, deceptive, or
                                                       misleading representation or means in connection with the collection of any debt.
                                                               39.    While § 1692e specifically prohibits certain practices, the list is non-exhaustive,
                                                       and does not preclude a claim of falsity or deception based on any non-enumerated practice.
                                                               40.    Collection notices are deceptive if they can be reasonably read to have two or
                                                       more different meanings, one of which is inaccurate.
                                                               41.    The question of whether a collection letter is deceptive is determined from the
                                                       perspective of the “least sophisticated consumer.”



                                                                                                        4
                                                                  Case 1:15-cv-00560-JTC Document 1 Filed 06/24/15 Page 5 of 6




                                                               42.     For purposes of 15 U.S.C. § 1692e, the failure to clearly and accurately identify
                                                       the creditor to whom the debt is owed is unfair and deceptive to the least sophisticated consumer.
                                                               43.     Because the collection letter in the instant case is reasonably susceptible to an
                                                       inaccurate reading, as described above, it is deceptive within the meaning of 15 U.S.C. § 1692e.
                                                               44.     The least sophisticated consumer would likely be deceived by Defendant's
                                                       conduct.
                                                               45.     The least sophisticated consumer would likely be deceived in a material way by
                                                       Defendant's conduct.
                                                               46.     Defendant has violated § 1692e by using a false, deceptive and misleading
                                                       representation in its attempt to collect a debt.

                                                                                               THIRD COUNT
                                                                              Violation of New York General Business Law § 349

                                                               47.     Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                    100 GARDEN CITY PLAZA, SUITE 500
     PLLC


                     GARDEN CITY, NEW YORK 11530




                                                               48.     Defendant owed a duty to Plaintiff to effect its collection of Plaintiff's alleged
BARSHAY | SANDERS




                                                       debt with reasonable care.
                                                               49.     Defendant's conduct as described herein shows a lack of exercise of reasonable
                                                       care in Defendant's collection of the alleged debt.
                                                               50.     Defendant breached its duty to collect Plaintiff's alleged debt with reasonable
                                                       care.
                                                               51.     Defendant's conduct was committed by Defendant in the conduct of a business,
                                                       trade or commerce or the furnishing of a service in New York State and constitutes a violation of
                                                       NY GBL § 349(a).
                                                               52.     Defendant's conduct was consumer-orientated in that the letter was sent in an
                                                       effort to collect an alleged consumer debt.
                                                               53.     Defendant's conduct has a broader impact on consumers at large as, upon
                                                       information and belief, Defendant has sent the subject form letter to hundreds of consumers.
                                                               54.     Plaintiff is a reasonable consumer.
                                                               55.     Defendant's conduct would mislead a reasonable consumer.
                                                               56.     Defendant engaged in a material deceptive act or practice as described herein.
                                                               57.     Defendant's conduct caused plaintiff to suffer injury.



                                                                                                          5
                                                                Case 1:15-cv-00560-JTC Document 1 Filed 06/24/15 Page 6 of 6




                                                              58.      Defendant violated NY GBL § 349(a) and is liable to Plaintiff pursuant to NY
                                                       GBL § 349(h).

                                                                                                JURY DEMAND

                                                              59.      Plaintiff hereby demands a trial of this action by jury.

                                                                                            PRAYER FOR RELIEF
                                                             WHEREFORE, Plaintiff respectfully requests judgment as follows:
                                                                a.        Statutory damages of $1,000.00 against Defendant pursuant to 15 U.S.C. §
                                                                          1692k; and
                                                                b.        Plaintiff's attorneys' fees pursuant to 15 U.S.C. § 1692k; and
                                                                c.        Damages against Defendant pursuant to NYGBL § 349; and
                                                                d.        Plaintiff's actual damages; and
                    100 GARDEN CITY PLAZA, SUITE 500
     PLLC




                                                                e.        Plaintiff's costs; all together with
                     GARDEN CITY, NEW YORK 11530
BARSHAY | SANDERS




                                                                f.        Such other relief that the Court determines is just and proper.


                                                       DATED: June 25, 2015

                                                                                                      BARSHAY SANDERS, PLLC

                                                                                                      By: _/s/ Craig B. Sanders ____________
                                                                                                      BARSHAY SANDERS, PLLC
                                                                                                      100 Garden City Plaza, Suite 500
                                                                                                      Garden City, New York 11530
                                                                                                      Tel: (516) 203-7600
                                                                                                      Fax: (516) 706-5055
                                                                                                      csanders@barshaysanders.com
                                                                                                      Attorneys for Plaintiff
                                                                                                      Our File No.: 109283




                                                                                                          6
